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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    November 28, 2018

BY ECF

The Honorable Valerie E. Caproni
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Louis Ciminelli, S2 16 Cr. 776 (VEC)


Dear Judge Caproni:

       The Government writes in response to defendant Louis Ciminelli’s request for leniency
based on his claims about the impact of his health condition on the logistics of his potential
incarceration. The Government has conferred with a representative of the Bureau of Prisons
(“BOP”) and has provided the BOP with the health information submitted by Ciminelli in his
sentencing letter and its attachments.

        Based on the information provided by Ciminelli, the BOP has confirmed that it has the
capability to address Ciminelli’s health condition and that the medications he currently takes, as
specified in his submissions, are among those prescribed by the BOP. Specifically, the BOP
expects that Ciminelli would be designated to a Federal Medical Center to best address his medical
needs. While the Clinical Director of the designated facility would determine what medications
Ciminelli would be permitted to take, there are current BOP inmates who have received Revlimid
and who have received Zometa, the medications specified in Joel A. Sickler’s memorandum as
potentially unavailable to Ciminelli if incarcerated (Dkt. No. 901-3).
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        In sum, the BOP has represented that it can address Ciminelli’s medical needs and that his
preferred medications may be available. Moreover, the defendant is not entitled to leniency on the
basis that he is unlikely to be designated to his facility of choice, a Federal Prison Camp.



                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney


                                              By:       /s/
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cc:    Counsel for Louis Ciminelli (by ECF)
